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OUTHERN DISTRICT OF MISSISSIPP|
FILE

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF MISSISSIPPI

ARTHUR JOHNSTON
DEPuTy

EMMERICH NEWSPAPERS, INCORPORATED PLAINTIFF
Vv CAUSE NO. SLB ev ZAb-J§l-Mm7P
PARTICLE MEDIA, INC. D/B/A NewsBreak DEFENDANT
COMPLAINT
JURY TRIAL DEMANDED

COMES NOW Plaintiff EMMERICH NEWSPAPERS, INCORPORATED (“Emmerich
Newspapers” or “Emmerich”) by and through its attorney Wilson Carroll, PLLC, who files its Complaint
against Defendant PARTICLE MEDIA, INC. d/b/a NewsBreak (“Particle Media”) secking damages for
copyright infringement and violation of the Digital Millennium Copyright Act. In support Emmerich
would show the following:

NATURE OF THE ACTION

l. This action seeks to recover damages that Emmerich Newspapers suffered arising from
(1) Particle’s willful infringement of Emmerich’s copyrights, (2) Particle’s circumvention of technological
measures employed by Emmerich to control access to its news content, and (3) Particle’s intentional
alteration of Emmerich’s copyright management information in order to facilitate and conceal the
aforesaid copyright infringement.

2. For a number of years (until Particle stopped the practice in response to litigation

previously filed by Emmerich') Particle used a web crawler to systematically steal articles from

' Emmerich Newspapers, Incorporated v. Particle Media, Inc. D/B/A NewsBreak, Civil Action No.
3:21-CV-32-KHJ-MTP (“NewsBreak 1”) Emmerich originally sought recovery for infringement of these articles in
that case but the court dismissed those claims because the articles had not yet been registered with the U.S.
Copyright Office. The case proceeded on the basis of nine articles which had been registered prior to filing suit.
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Emmerich’s websites’, strip out the ads and republish them on Particle’s own “NewsBreak” web
application (“app”) surrounded by its ads. Sometimes the articles were published in foto, and other times
substantial portions of the articles (headlines, pictures and parts of the story) were published. During one
time frame Particle republished 33,966 stolen Emmerich articles, including 17,625 full-text articles.
Particle’s expert has testified there were at least 4,178,877 page views of these articles on Particle’s
platform.’ Upon information and belief, Particle published thousands more full-text articles and obtained
Many more page views prior to the date range covered by Emmerich’s initial discovery request in
NewsBreak 1,

3. The vast majority of Emmerich’s websites operate behind paywalls - the reader is
required to subscribe to the website and enter a password before he or she can read articles. Particle’s
web crawler was designed to hack through these paywalls and circumvent Emmerich’s protective
measures. It succeeded in doing so millions of times.

4. Additionally, every stolen Emmerich article was identified by a unique filename which
included, among other things, the identity of the Emmerich newspaper where it was published. Particle’s
system systematically altered this copyright management information to delete Emmerich’s unique
filenames and replace them with Particle’s own filenames. Particle then republished Emmerich’s stolen
articles under the altered filenames millions of times.

5. Particle’s repeated and ongoing hacking of Emmerich’s websites had the effect, among
others, of slowing down Emmerich’s websites and making them less efficient.

6. Particle’s web crawler systematically stripped out Emmerich’s ads before republishing

the stolen articles in Particle’s website.

> Emmerich Newspapers owns and operates 19 daily and weekly newspapers in Mississippi, Louisiana and
Arkansas, each of which maintains a website where news stories, articles and opinion pieces are also published. A
complete list of subsidiaries and websites is set forth in paragraph 12, infra.

> For unknown reasons Particle’s expert limited his analysis to only two years’ of infringing activity when the data
produced by Particle actually covered a three-year period. As a result, the actual number of page views is greater
than this.
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7. After Emmerich’s readers were diverted to Particle’s website Particle placed “cookies” on
those readers’ computer hard drives, enabling Particle to track their internet usage, preferences and
activities without their knowledge or consent and thereafter bombard them with ads and other content
which they neither sought nor requested.

8. By diverting Emmerich’s readers to its website, Particle hijacked Emmerich’s user
engagement, thereby reducing the value of Emmerich’s ad space. Every page view on Particle’s website
increased the value of Particle’s ad space at the direct expense of Emmerich.

9. This parasitic business model makes no pretense of transforming the stolen news stories
in any manner which might constitute fair use. Particle simply copied and republished entire stories
verbatim, or enough portions of stories that the effect is the same - readers who would otherwise go to
Emmerich’s websites failed to do so. The Court in Particle | determined that Particle’s practice of
full-text republication of Emmerich’s articles was not protected by fair use, and that the partial
republication in the form of “snippets” is a question for a jury to decide.

10. Contrary to its dishonest public statements, Particle made absolutely no effort to obtain
Emmerich Newspapers’ consent nor did it offer any compensation for the stolen work product. Particle
has testified that under no circumstances would it ever consider sharing revenue derived from its news
feed with publishers like Emmerich who actually create the stories listed there.

11. Particle is not a search engine and makes no effort to drive traffic to the websites where
the articles originate. Indeed, by publishing the complete article, or significant portions of it, on its own
app, Particle made a visit to Emmerich’s website entirely unnecessary. Instead of directing viewers to
Emmerich’s websites, Particle copies and frames replicas of Emmerich's articles on its own website.

PARTIES
12. Plaintiff Emmerich Newspapers, Incorporated is a Mississippi corporation headquartered

at 246 Briarwood Dr. Suite 101, Jackson, MS 39236.
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13. Defendant Particle Media, Inc. d/b/a NewsBreak is a Delaware corporation with
headquarters at 2350 Mission College Boulevard, Santa Clara, California 95054, It may be served with
process on its registered agent, Corporation Service Company (d/b/a in California as CSC - Lawyers
Incorporating Service), 2710 Gateway Oaks Drive, Ste. 150N, Sacramento, CA 95833.

JURISDICTION AND VENUE,

14. This Court has jurisdiction over the subject matter of this action pursuant to (a) 28 U.S.C.
§1331; (b) 28 U.S.C. §1332, in that this is an action between citizens of different states and the amount in
controversy exceeds $75,000, exclusive of interest and costs; (c) 28 U.S.C. §1338; and (d) 28 U.S.C.
§1367.

15. Venue is proper in this District pursuant to 28 U.S.C. §§1391 and 1400(a).

16. This Court has personal jurisdiction over the Defendant pursuant to Fed. R. Civ. Proc.
4(k)(1)(A) because Defendant does business in this district and state and Defendant supplies and
transmits, or offers to supply and transmit, the NewsBreak service to clients and potential clients in this
district and state. It also has pendent jurisdiction over Plaintiff’s state law claims because Defendant
committed a tort, in whole or in part, in this district and state,

FACTUAL BACKGROUND
A. EMMERICH NEWSPAPERS, INCORPORATED

17. Emmerich Newspapers, Incorporated is one of the largest privately owned newspaper
chains in Mississippi, with additional newspapers in Louisiana and Arkansas. It owns the following
companies: J.O. Emmerich & Associates, Inc. which publishes the Enterprise-Journal in McComb,
Mississippi; Delta Democrat Publishing, Inc. which publishes the Delta Democrat Times in Greenville,
Mississippi, Commonwealth Publishing, Inc. which publishes the Greenwood Commonwealth in
Greenwood, Mississippi; Delta Press Publishing, Inc. which publishes the Clarksdale Press Register in

Clarksdale, Mississippi; Marion Publishing, Inc. which publishes the Columbian-Progress in Columbia,
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Mississippi, Yazoo Newspaper, Inc. which publishes the Yazoo Herald in Yazoo City, Mississippi;
Sunland Publishing, Inc. which publishes the Northside Sun in Jackson, Mississippi; Simpson Publishing,
Inc. which publishes the Magee Courier in Magee, Mississippi and the Simpson County News;
Montgomery Publishing, Inc. which publishes the Winona Times in Winona, Mississippi and the
Carrollton Conservative in Carrollton, Mississippi; Franklinton Publishing, Inc. which publishes the
Era-Leader in Franklinton, Louisiana; Charleston Publishing, Inc. which publishes the Charleston
Sun-Sentinel in Charleson, Mississippi; the Clarion Publishing Company, Inc. which publishes the Dumas
Clarion in Dumas, Arkansas; Scott Publishing which publishes the Scott County Times in Forest,
Mississippi; Clarke Publishing, which publishes the Clarke County Tribune in Quitman, Mississippi;
Hattiesburg Publishing, Inc. which publishes the Pine Belt News in Hattiesburg, Mississippi; Tallulah
Publishing, which publishes the Madison Journal in Tallulah, Louisiana; Louisville Publishing, Inc. which
publishers the Winston County Journal in Louisville, Mississippi, the Webster Progress-Times and the
Choctaw Plain Dealer; and the Enterprise-Tocsin, Inc. in Indianola, Mississippi, Grenada Star, Inc which
publishes the Grenada Star; and Tate Record, Inc. which publishes the Tate Record in Senatobia,
Mississippi. In addition to daily, twice-weekly and weekly newspapers, these subsidiaries also publish
magazines, websites and phone books in many of their markets. The following websites owned by
Emmerich Newspapers are associated with the foregoing list of newspapers:

enterprise-journal.com

ddtonline.com

gwcommonwealth.com

pressregister.com

newtoncountyappeal.com

northsidesun.com

columbianprogress.com

yazooherald.net

simpsoncounty.ms

sctonline.net

hubcityspokes.com

redhillsmsnews.com

starherald.net
Wwinonatimes.com
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era-leader.com

enterprise-tocsin.com

tallahatchienews.ms

clarkecountytrib.com

dumasclarion.com

madisonjournal.com

signaturemagazine.ms

grenadastar.com

taterecord.com

18. In most of its markets Emmerich Newspapers is the only source of local news. It is the
only news outlet covering events at city hall and the county courthousc, and the only source of breaking
news of any sort. It is the only news outlet which publishes information about arrest records and
foreclosures. It is the only news outlet covering local sports and graduation ceremonies. It is the only
source of local editorial content and the only news outlet covering local births, weddings and deaths.

19, And they do it extremely well. Emmerich Newspapers every year wins more editorial
and advertising awards than any other newspaper company in the state. Typically, Emmerich Newspapers
publications win the general excellence award in every category in which they compete. In a typical year,
Emmerich Newspapers publications will win over 100 editorial and advertising awards.

20. Like newspapers all over the country, Emmerich Newspapers has adapted to the advent of
the internet. It was one of the first publishers in Mississippi to develop online websites for its newspaper
content and continues to lead the way in technical innovation. Every single newspaper published by
Emmerich Newspapers has a corresponding website which enables it to update stories in real time and
receive feedback from local readers in the comments section.

B. PARTICLE MEDIA, INC. D/B/A NEWSBREAK

21. Particle Media, Inc. designs and develops internet web applications. “The Company offers

news application [sic] that provides personalized content, stories, local news, news digests, articles, and offline
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access. Particle Media serves customers worldwide.”* Upon information and belief, “NewsBreak” is
Particle Media’s most important and profitable app.

22. At LinkedIn, Particle Media describes NewsBreak as “the Nation's #1 Intelligent Local
News Platform. We connect and empower local users, local content creators, and local businesses at scale,
helping people everywhere live safer, more vibrant, more truly connected lives.”> It goes on to describe
its remarkable growth:

Since its founding in 2015, NewsBreak has grown by leaps and bounds. We are now the #1 news

app on both iOS and Android in the United States. With 11M+ daily active users and 23M+

monthly users (data source: App Annie), we’re also ahead of all major news apps such as The
New York Times, The Washington Post, CNN, Yahoo News, SmartNews, and Flipboard.

23. Particle falsely claims that its growth has been achieved through cooperation with local
publishers, suggesting that it has obtained permission to publish the stories it steals from them -- “By
forging close partnerships with thousands of local publishers and businesses around the country,
NewsBreak’s priority is to help a new generation of readers find and engage with vital, locally published
content and information.” Id, (emphasis added). In fact, no such “partnership” was ever established or
proposed with Emmerich Newspapers. Far from cooperating, Particle directly and dishonestly competes
with Emmerich.

Cc. PARTICLE’S INFRINGEMENT OF EMMERICH NEWSPAPERS’ COPYRIGHTS

24. All news stories published by Emmerich Newspapers are original works of authorship
subject to copyright protection. Emmerich Newspapers owns the copyright to all stories published on its
websites. As the copyright owner, Emmerich Newspapers has the exclusive right to, inter alia, reproduce,

distribute, display and/or prepare derivative works based on those stories.

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25, After downloading the NewsBreak app new users are prompted to provide their location
information. This enables the app to precisely tailor the local news stories which “pop up.” The user also
has the option of expanding the universe of stories by adding additional localities of interest. All of the
stories which then appear have been culled from websites for news publishers within the geographic areas
defined by the user. NewsBreak aggressively promotes these purloined new stories by providing regular
alerts on the user’s smartphone or tablet device, often appearing before any other apps have been opened.

26. When the reader clicks on an alert he is directed to the NewsBreak news feed which
contains scores, if not hundreds, of locally produced news stories stolen by Particle. As the user scrolls
down he is presented (along with portions of the local news stories) with a steady stream of paid ads or
sponsored content. This is how Particle makes its money. These ads and paid content are tailored to the
reader’s profile which has been developed by either Google or another source, providing targeted
marketing which is unavailable to local publishers who choose not to use Google’s ad services -- a
significant unfair advantage for Particle.

27, Of critical importance, during the time frame in question the link appearing on
NewsBreak never led to Emmerich’s website where the story in question originated. Instead, when a
reader clicked through he was led to a facsimile of the story which was retrofitted by Particle and hosted
on Particle’s website. At least 2 million times all of Emmerich’s ads were completely stripped out in this
manner.

28. Even on those occasions where a reader thought he was on Emmerich’s website, Particle
had actually fetched and copied an exact replica of the article on its own website. The reader was never
allowed to go to the Emmerich website where the story originated. Even if the reader tried to download
or share the article, he was only allowed to download or send Particle’s copy of the article rather than the

real thing.
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29. Particle willfully and intentionally stole 33,725 articles, stripped out the ads, and
republished the headline, photo and iede on its NewsBreak news feed. Of this number, 17,625 were
published in full-text format on Particle’s website with no Emmerich ads. The remainder were
re-published in foto (including Emmerich’s ads along with ads inserted by Particle) in frames on Particle’s
website. In no event was a reader ever actually redirected to Emmerich’s website by clicking through.

D. PARTICLE’S CIRCUMVENTION OF EMMERICH’S TECHNOLOGICAL
PROTECTION MEASURES (I.E., PAYWALLS)

30. At all relevant times the majority of Emmerich’s articles were hidden behind paywalls
erected to protect Emmerich’s copyrighted news content. This required the reader to subscribe to the
website and enter a password before reading an article.

31, Particle executed its copyright infringement scheme through the distribution of its
“NewsBreak App,” which was a device specifically designed to circumvent technological protection
measures used by Emmerich to protect its copyrighted works. NewsBreak app users hacked through
Emmerich’s paywalls millions of times during just a two-year period.

32. Particle’s corporate representative falsely testified under oath that the NewsBreak app
never went behind paywalls:

Q. Does the web crawler ever consume articles which are behind paywalls?
A. No, we do not. We are not able to consume content behind pay wall.

33. In truth, of the 33,725 articles in question, 25,123 were hidden behind paywalls. In order
to steal these articles Particle’s web crawler hacked Emmerich servers and circumvented Emmerich’s
copyright protection systems each of the 4,178,871 times an article was fetched and framed for viewing
by a reader.

34. Particle expert Neil Zoltowski testified that each time a user “clicked through” on the

news feed, the Newsbreak app would instantaneously fetch a copy of the Emmerich article in question
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and host or “frame” an exact copy of it on Particle’s website. The reader was never actually on
Emmerich’s website even though, by all appearances, he was.

A user could have been taken actually to Emmerich’s website, or one of its websites for
its newspaper, but it actually would have still been within the NewsBreak app where
NewsBreak would have included its own ads. . . . It’s like a framing of someone else’s
website within the app. . .. NewsBreak essentially, again, for lack of a better term, was
framing the Emmerich website . . . . | could have created a separate category called, you
know, ““Emmerich-Framed Website Views”... .

35. The number of violative acts was staggering. Particle’s expert, Mr. Neil Zoltowski,
testified under oath:
Q. All nght. And then, according to the data that you were provided by Particle,

4,178,871 times in total, viewers were looking at Emmerich articles on the
Particle Media website; is that correct?

A. Yes.

Q. All right. Does that mean -- and every time that occurred, by definition, that
meant somebody clicked through, correct?

A. Yes.

E. PARTICLE’S ALTERATION OF EMMERICH’S COPYRIGHT MANAGEMENT
INFORMATION

36. Particle altered Emmerich’s filename and copyright management information (“CMI”) on
all 33,725 stolen articles by removing Emmerich’s publisher information and substituting its own unique
filename removing all reference to Emmerich’s original filename. It did this each time a reader clicked
through a link on the NewsBreak news feed (4,178,871 times in total).

37. Any reader who clicked-through on Particle’s news feed would then read Emmerich’s
article either “self-hosted” (with no Emmerich ads) or framed in Particle’s app (including Emmerich’s ads
along with Particle’s ads). Either way, the article appeared under the altered filename.

38. Any reader who then downloaded or shared the article did so using the altered filename.
Emmerich’s original filename never re-appeared when the article was downloaded or shared thus

enabling, facilitating and concealing the copyright infringement.

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39 For example, on or about August 13, 2020 Emmerich Newspapers published an article
headlined, “Board Votes Funding Increase” on the Winona Times website using the following filename:
“https://www.winonatimes.com/front-page-slideshow-news/board-votes-funding-increase#sthash.bJILRy
Sn.dpbs”. Particle stole this article and altered the filename to “https://newsbreak.com/OWds0pAQ” or
something substantially similar.

40. On or about August 11, 2020 Emmerich published an obituary headlined, “Cristi D.
Eubanks” on the Magee Courier website using the following _ filename:
“https://www.simpsoncounty.ms/obituaries/cristi-d-eubanks#sthash.xLWv2ExQ.dpbs”. Particle stole this
article and altered the filename to: “https://newsbreak.com/0PqzT7K6” or something substantially similar.

41, On or about August 13, 2020 Emmerich published an article headlined “Hattiesburg
Police Searching Armed Robbery Suspect” on the Hub City Spokes web site using the following filename:
“https://www.hubcityspokes.com/news-hattiesburg-crime/hattiesburg-police-searchingarmed-robbery-sus
pect”. Particle stole this article and altered the filename to: “https://newsbreak.com/ 0WdzTNKZ” or
something substantially similar.

42. On or about August 13, 2020 Emmerich published an article on the McComb Enterprise
Journal website headlined “Parklane offense Shines In Win Over Brookhaven Academy“ under the
following filename: http://www.enterprise-journal.com/sports/article_75ffe738-ddaa-1 lea-b6b7-
33cc0dee69e8.html Parklane offense shines in win over Brookhaven Academy”. Particle stole this article
and altered the filename to: “https://newsbreak.com/0We2XoPV” or something substantially similar.

43. On or about August 10, 2020 Emmerich published an article on the Kosciusko Star
Herald website headlined “Ethel-heavy Kosciusko team claims Dixie Pre Major World Series” under the
filename:“https://www.starherald.net/news-kosciusko-attala-county-sports-sports-slideshowkosciusko-eth
el-front-page-slideshow/ethel”. Particle stole this article and altered the filename to:

“https://newsbreak.com/OPqGY Rpt” or something substantially similar.

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44. Every instance of Particle stealing Emmerich’s articles followed the pattern described
above. Particle would delete Emmerich’s filename and republish the articles under its own unique
filename. Because Emmerich’s filename was completely eliminated Emmerich had no way of knowing
Particle was posting its articles on Particle’s website.

45. These articles were then republished either as snippets on the NewsBreak news feed, in
full-text format (i.c., “self-hosted”) by Particle on its website, or framed by Particle on its website. The
name of the publisher and headline were removed from the filename by Particle in every subsequent
re-publication of these articles.

46. Furthermore, anyone copying or sharing these articles automatically did so using
Particle’s altered filename, and not the filename originally used by Emmerich, thereby enabling,
facilitating and concealing the copyright infringement. This also ensured that all online readers
(including readers of shared articles) remained on Particle’s website and not on Emmerich’s websites
where the articles originated.

47. Emmerich’s original filename never re-appeared in subsequent downloads or shares from
Particle’s website. As a result, Particle distributed Emmerich’s copyrighted work knowing that CMI had
been removed or altered without authorization and knowing, or having reasonable grounds to know, that
such distribution would induce, enable, facilitate, or conceal a copyright infringement.

48. Particle altered Emmerich’s CMI in this manner at least 4,178,871 times (i.e., every time
a reader clicked through for a page view).

49. The NewsBreak app continues to work in exactly the same way.

50. The NewsBreak app is a technology that enables viewers to circumvent technological
measures put in place by copyright holders like Emmerich to control access to or uses of their copyright work,
Particle distributed, and continues to distribute, the NewsBreak app in violation of the DMCA’s anti-trafficking

provisions,

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51. Emmerich’s copyright management information (i.e., the filename for each article) was
specifically intended to direct viewers to Emmerich’s own websites. Particle could only have directed
4,178,871 click-throughs to its website by altering the filename on each stolen article. Particle altered
Emmerich’s CMI knowing or having reasonable grounds to know that this would induce, enable, facilitate
or conceal infringement of Emmerich’s rights in the articles at issue in this lawsuit.

52. Virtually every article stolen by Particle contained photographs, including many
works-for-hire whose copyrights are also owned by Emmerich. Each of the 37,325 “snippets” appearing
on the NewsBreak news feed included an exact copy of these photographs as they appeared on
Emmerich’s websites without any reduction in quality or resolution. Particle used the same elements,
composition, colors, arrangement, subject, lighting, angle, and overall appearance of the originals as they
appeared on Emmerich’s websites. These were separate and independent acts of copyright infringement.
The group registrations obtained by Emmerich cover these photographs as well as the literary portion of
each article. In addition, Emmerich has separately registered 30 of the photographs which were stolen
and republished by Particle.

53. Particle performs no journalistic function at all. It does not take information from
Emmerich Newspapers’ stories and revise or incorporate that information into new articles of its own
creation. It merely copied significant percentages (sometimes 100%) of Emmerich Newspapers’ content
verbatim and served that content directly back to Emmerich Newspapers’ own customers or potential new
customers, only without Emmerich’s ads. Particle does not “break” news or extract breaking facts from
the articles it distributes.

54, NewsBreak is not a search engine. It does not promote or improve access to any
complete, linked news story. The extent to which it takes and regurgitates copyrighted material is vastly
greater than that normally done by traditional search engines such as Google or Bing. It does not

transform the article in any way which would constitute fair use. Instead of driving readers to the

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publishers’ websites, it acts as a substitute for those sites and hijacks readers who would otherwise go
there.

55. Particle competes directly with Emmerich Newspapers for advertising clients and
revenues. Ads for a number of Emmerich Newspapers’ advertising clients can be found on the
NewsBreak app, but the revenue in such cases flows to Particle instead of to Emmerich Newspapers.
Emmerich Newspapers has lost advertisers to Particle as a direct result of Particle’s wrongful acts.

56. Prior to filing this lawsuit Emmerich filed for and obtained group copyright registrations
covering every article stolen by Particle during the time frame covered by the original suit and disclosed
by Particle. A complete list of said copyright registrations is publicly available at the U.S. Copyright
Office website.

57. Particle's acts described above constitute willful infringement of Emmerich Newspapers’
copyrights in the registered articles in violation of 17 U.S.C. §501 et seq.

58. Particle’s acts described above constitute wilful circumvention of Emmerich’s copyright
protection systems in violation of 17 U.S.C. §1201.

59. Particle’s acts described above constitute wilful interference with the integrity of
Emmerich’s copyright protection systems in violation of 17 U.S.C. §1202.

60. Particle’s infringing actions caused actual damages which will be proven at trial.

CLAIMS FOR RELIEF

COUNT I - COPYRIGHT INFRINGEMENT (17 U.S.C. §101 et seq.)

61. Emmerich Newspapers repeats and realleges each and every allegation above as if fully
set forth herein.
62. The Emmerich articles which were published in whole or in part on NewsBreak were

original, creative works and copyrightable subject matter under the laws of the United States.

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63. The Emmerich photographs which were published in whole or in part on NewsBreak
were original, creative works and copyrightable subject matter under the laws of the United States.

64. Emmerich Newspapers is the owner of valid copyrights in every such article and
photograph and the Register of Copyrights has issued valid Certificates of Registration which may be
reviewed on the U.S. Copyright Office website.

65. Emmerich Newspapers has complied in all respects with 17 U.S.C. §§101, et seq., and
has secured the exclusive rights and privileges in and to the copyrights in its news articles and
photographs.

66. By its actions alleged above Particle has infringed Emmerich Newspapers's copyrights in
and relating to Emmerich Newspapers’ articles and photographs by, inter alia, reproducing, distributing
and publicly displaying such copyrighted work without any authorization or other permission from
Emmerich Newspapers.

67. Particle's infringement of Emmerich Newspapers's copyrights has been deliberate, willful
and in utter disregard of Emmerich Newspapers' rights.

68. As a direct and proximate result of its wrongful conduct, Particle has obtained benefits
including, but not limited to, ad revenues and investments in the company to which Particle is not entitled.

69. Emmerich Newspapers is entitled to recover from Particle the actual damages it has
sustained as a result of the acts of copyright infringement alleged above in an amount to be proven at trial.

COUNT II - DIGITAL MILLENNIUM COPYRIGHT ACT
CIRCUMVENTION OF COPYRIGHT PROTECTION SYSTEMS (17 U.S.C. §1201)

70. Emmerich repeats and realleges each and every allegation above as if fully set forth
herein.

71. 25,123 of the stolen articles were protected by paywalls intended to limit access to paying

customers and protect Emmerich’s copyrights in said articles.

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72. On each occasion when these articles were stolen, Particle’s web crawler used
technological methods to hack and circumvent these paywalls.

73. Each such act of circumvention of Emmerich’s copyright protection system constituted a
separate violation of 17 U.S.C. §1201, entitling Emmerich to statutory damages for each such act
pursuant to 17 U.S.C. §1203 in an amount not less than $200.00 or more than $2,500.00 per act of
circumvention. Each page view (4,178,871) constituted a separate act of circumvention by Particle.

74. Alternatively, Emmerich is entitled to actual damages in an amount to be proven at trial.

COUNT III - DIGITAL MILLENNIUM COPYRIGHT ACT
INTEGRITY OF COPYRIGHT MANAGEMENT INFORMATION (17 U.S.C. §1202)

75. Emmerich repeats and realleges each and every allegation above as if fully set forth
herein.

76, Each time Particle stole an Emmerich article it removed and altered Emmerich’s
copyright management information by changing Emmerich’s filename and substituting its own filename
in violation of 17 U.S.C. §1202(b)(1).

77, Each time Particle re-published Emmerich’s articles knowing that the copyright
management information had been altered without authority of the copyright owner constituted a separate
violation of 17 U.S.C. §1202(b)(2), entitling Emmerich to statutory damages for each such act in an
amount not less than $2,500.00 or more than $25,000.00 per act. Each page view (4,178,871) constituted
a separate act of re-publication with altered copyright management information by Particle.

78. Alternatively, Emmerich is entitled to actual damages in an amount to be proven at trial.

COUNT IV. TRAFFICKING IN PROHIBITED CIRCUMVENTION TECHNOLOGY
79. Emmerich repeats and realleges each and every allegation above as if fully set forth

herein.

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80. The NewsBreak app was designed to, and does, circumvent technological measures put in
place by copyright holders such as Emmerich to control access to, or uses of, their copyright work in violation
of 17 U.S.C. § 1201(a)(2) and (b).

81. Particle illegally trafficks in prohibited technology by making the NewsBreak app available to
hundreds of millions of users annually, who use the app to hack Emmerich’s websites and view his content
without paying the customary fee.

$2. Particle’s distribution of the NewsBreak app violates 17 U.S.C. §1201(a)(2), which prohibits
trafficking in any technology, product, service, device, component, or part thereof, that is primarily
designed or produced for the purpose of circumventing a technological measure that effectively controls
access to a work protected under the Copyright Act.

83. Emmerich is entitled to recover statutory damages for each such act of trafficking
pursuant to 17 U.S.C. §1203 in an amount not less than $200.00 or more than $2,500.00 per act.

84, Furthermore, the Court should enjoin Particle from any further distribution of the
NewsBreak app and require Particle to discontinue the use of this app by any existing users.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff Emmerich Newspapers, Incorporated respectfully requests judgment
against Defendant Particle as follows:

A. Find that Particle has infringed Emmerich Newspapers's copyrights in the Registered
Articles;

B. Order Particle to render a full and complete accounting to Emmerich Newspapers for
Particle’s profits, gains, advantages or the value of the business opportunities received from the foregoing

acts of infringement;

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C, Enter judgment for Emmerich Newspapers against Particle for all actual damages
suffered by Emmerich Newspapers and for any profit or gain by Particle attributable to infringement of
Emmerich Newspapers's intellectual property in amounts to be determined at trial:

D. Enter judgment for Emmerich Newspapers against Particle for statutory damages based
upon Particle’s willful acts of circumvention of Emmerich’s copyright protection systems pursuant to 17
U.S.C. 1202 and 1203.

E. Enter judgment for Emmerich Newspapers against Particle for statutory damages based
upon Particle’s willful acts of interference with Emmerich’s copyright management information pursuant
to 17 U.S.C. §1202 and §1203.

F. Enter judgment for Emmerich Newspapers against Particle for statutory damages based
upon Particle’s trafficking in prohibited circumvention technology in violation of 17 U.S.C. 1201.

G. Enjoin Particle from further distribution of the NewsBreak app and compel Particle to
discontinue the use of this app by any existing users.

H. Award Emmerich Newspapers all costs and disbursements of. this action, including
reasonable attorneys' fees and costs pursuant to 17 U.S.C. §505 and §1203(b)(4) and (5);

I, Award Emmerich Newspapers pre-judgment and post-judgment interest, to the fullest
extent available, on the foregoing; and

J Grant such other, further and different relief as the Court deems Just and proper.

DEMAND FOR JURY TRIAL

Plaintiff Emmerich Newspapers demands a trial by jury on all issues so triable in this action.

RESPECTFULLY SUBMITTED, this the Wray of ney 2023.

EMMERICH NEWSPAPERS, INCORPORATED
BY: /s/ Wilson H. Carroll V

Wilson H. Carroll (MSB#5894)

OF COUNSEL:
Wilson H. Carroll

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WILSON CARROLL, PLLC
2506 Cherry Street
Vicksburg, Mississippi 39180
(601)953-6579
wilson@wilsoncarroll.com

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